            UNITED STATES DISTRICT COURT
      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  CASE NO. 21-mc-0006

                                   )
In re Application of KARAM         )
SALAH AL DIN AWNI AL               )
SADEQ and STOKOE                   )
PARTNERSHIP                        )
SOLICITORS for an Order            )
Under 28 U.S.C. § 1782 to          )
Conduct Discovery for Use in       )
Foreign Proceedings                )
                                   )
                                   )


 NICHOLAS DEL ROSSO AND VITAL MANAGEMENT SERVICES,
           INC.’S REPLY IN SUPPORT OF THEIR
     MOTION TO QUASH OR FOR A PROTECTIVE ORDER




   Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 1 of 18
                                             Table of Contents

REPLY .................................................................................................................. 1

ARGUMENT ........................................................................................................ 2

I.       The Requested Discovery Is Not “For Use” in or Relevant to the
         Foreign Proceedings and Is Unduly Burdensome .................................... 2

         A.       Stokoe Proceedings .......................................................................... 2

         B.       Al Sadeq Proceedings....................................................................... 5

II.      The Application Required Decision by an Article III Judge. ................... 8

III.     Applicants Improperly Joined Their Unrelated Applications. .............. 11

IV.      Evidentiary Objections ............................................................................ 12

CONCLUSION ................................................................................................... 13




                                                            i


       Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 2 of 18
                                    REPLY

        In this matter, Applicants have inexplicably introduced the confidential

bank statements of CyberRoot upon which non-party Farhad Azima has relied

and appear to be improperly seeking discovery solely for Azima’s benefit. As

the motion explained, the material sought is not relevant to the English cases.

Most simply, it is about a different time period than the Stokoe case, and a

different person than the Al Sadeq case. After Movants explained why Appli-

cants’ original claims of relevance failed, the opposition abandons most of

them.

        Applicants now rest on a single theory of relevance for each case: that

Movants’ communications with CyberRoot in 2015-2017 might help Stokoe

show that Movants worked on investigating Stokoe in 2020; and that showing

(as Applicants hope to do) that Movants were involved in hacking non-party

Farhad Azima in 2016 could help Al Sadeq show that his prosecution was “po-

litically motivated.” Those are non-sequiturs, and neither of them meets the

relevance standard of Federal Rule of Evidence 401, so the discovery should be

rejected.



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     Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 3 of 18
      Further, as the motion explained, the Application was flawed ab initio

because Applicants improperly joined their unrelated applications; and the ap-

proving order was issued without constitutional authority. Applicants have no

serious answers to those problems. The subpoenas should be quashed.

                                 ARGUMENT

I.    The Requested Discovery Is Not “For Use” in or Relevant to the
      Foreign Proceedings and Is Unduly Burdensome

      A.    Stokoe Proceedings

      The material that Stokoe seek is not relevant to the Stokoe proceedings

because it involves events in 2020 and does not involve hacking, while it is now

undisputed that Stokoe seek communications from 2015 to 2017 between two

non-parties that allegedly relate to the hacking of another non-party’s email

account in 2016.

      As Movants explained and as Stokoe’s Particulars of Claim reveal, hack-

ing is not at issue in Stokoe’s case. Stokoe’s central allegation is that in March

2020, a defendant there possessed a document stating that a particular public

relations firm had paid the blogger Radha Stirling “for raising profile of KAS”.

See Dkt. 16, Ex. 2 ¶ 9A. That PR activity was clandestine, Stokoe contend, so

the underlying financial information must have been obtained via a “breach of

confidence.” Id. ¶ 16. Stokoe do not allege that that (or any) information was




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     Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 4 of 18
obtained from them (or anyone) through hacking. The result, as Movants ex-

plained, is that any hacking allegations are legally extraneous to the com-

plaint.

      Stokoe do not seriously dispute this.1 They point to their allegation that

they received a “heightened number” of anonymous “spear phishing” emails

(Dkt. 17 (“Opp.”) at 18), but do not dispute the conclusion—plain on the face of

the Particulars—that they claim no harm from receiving them, have no evi-

dence linking those to Movants, and do not assert a cause of action arising from

them. The discovery sought here, by contrast, is claimed to relate only to an

alleged 2016 incident of hacking against an unrelated third party.2 Stokoe can

point to nothing but their own speculation to link Movants, Azima, the alleged

hacking of Azima’s email in 2016, or any hacking activity at all, to any 2020




      1In opposition, Applicants submit materials from Paul Robinson. As
discussed in Section IV, they are largely inadmissible. Further, they are irrel-
evant because they address Robinson’s work in 2020 and have nothing to do
with the CyberRoot communications from 2015-2017 that are being sought.
      2Stokoe asserts for the first time that the discovery sought might help it
determine whether CyberRoot was instructed to obtain its confidential infor-
mation. Opp. at 19. But as the motion explained and Stokoe’s Particulars
show, CyberRoot is not alleged to have been involved in any misconduct
against Stokoe.

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     Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 5 of 18
“breach of confidence” that allegedly disclosed that Stokoe’s public relations

firm was secretly paying Stirling.3

      Even if phishing claims were genuinely at issue, Stokoe’s opposition can-

not explain why the discovery would aid its case, and instead shows affirma-

tively that the discovery would not be helpful. As noted, all of Stokoe’s allega-

tions concern events in 2020. If Stokoe wished to explore a theory that Mo-

vants were behind the phishing attempts, then their discovery would seek in-

formation from 2020 about Movants’ activities with respect to Stokoe. But

while the Application was obscure about the date range it sought (see Dkt. 1),

Stokoe now do not dispute that the information they seek is exclusively for

2015 to 2017 (see, e.g., Opp. at 15).

      This temporal limitation defeats their primary claim of relevance.

Stokoe asserts a long chain of inference (Opp. at 13-15) that they say “estab-

lishes” Movants’ “likely” role in directing others in 2020 to obtain what Stokoe

claim was their confidential information (id. at 15). They then overstate that



      3Stokoe links its claim that it received a “heightened” number of phish-
ing emails in March-September 2020 to Robinson’s claim that in March 2020
he researched Stirling. Opp. at 18. The evidence of the Stirling work is inad-
missible (see Section IV), but nothing anyway supports the non-sequitur sug-
gests that Robinson’s Stirling research meant sending phishing emails to
Stokoe. Contra id. To the contrary, had Robinson engaged in phishing, he
would know that, but none of his three voluntary signed statements here say
that he had any involvement in phishing.

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     Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 6 of 18
one of their adversaries, Stuart Page, has “implicated” Movant Del Rosso in

the “conduct” at issue in the Stokoe case (id. at 16), and contend that the dis-

covery they seek “will aid Stokoe in determining” whether Page “instructed Del

Rosso” in this regard, which Page has denied (again, all in 2020). Opp. at 19.

But Stokoe have limited their requests to 2015 to 2017, which was years before

Stokoe’s engagement by Al Sadeq began and before anyone is alleged to have

tried to obtain their confidential information. So there is no way in which the

information sought could show “whether ‘one of the defendants in those pro-

ceedings’” instructed Movants to “unlawfully obtain” Stokoe’s information in

2020. Opp. at 19. The end result is that the opposition offers no connection

between the discovery sought and the Stokoe case.

      B.    Al Sadeq Proceedings

      In response to the motion, Al Sadeq barely articulates a link between the

sought discovery and his case. Though he recites facts about Azima’s litigation

at length (Opp. at 13-16), Azima’s case is not his case.4 His sole stated link is

that “the timing and the methods” that RAKIA used to obtain Azima’s emails




      4Azima’s suit against Movants in this district has been dismissed except
for a narrow trade secrets and related conspiracy claim based on allegations
from 2018 and 2019. Azima v. Del Rosso et al., No. 1:20-cv-954, Dkt. 65
(M.D.N.C.).

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     Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 7 of 18
are “relevant” to Al Sadeq’s allegations that RAKIA’s prosecution was “politi-

cally motivated.” Opp. at 16. But he makes no effort to meet his burden of

showing relevance by explaining why that would be so.

      Evidence is relevant if it tends “to make a fact more or less probable than

it would be without the evidence” and is “of consequence in determining the

action.” Fed. R. Evid. 401. Whether Azima was hacked and by whom would

not make it “more or less probable,” id., that Al Sadeq, a different person, was

prosecuted “politically.” They are separate, unrelated factual questions, and

Al Sadeq’s contention that he was wrongly prosecuted does not allow him to

get discovery related to Azima’s case.

      Al Sadeq is also wrong to insist that his case and Azima’s are linked be-

cause Azima is his “alleged co-conspirator.” Opp. at 16-17. As the motion ex-

plained, and Al Sadeq does not dispute, the frauds for which Al Sadeq was

prosecuted, and which are at issue in his litigation, did not involve Azima.5




      5 Al Sadeq’s litigation is not about hacking, and Movants’ brief said so.
Al Sadeq’s response is that this “ignores” that Azima’s allegedly hacked emails
implicated Al Sadeq in Azima’s fraud. But whatever Al Sadeq’s involvement
was in that separate fraud, Al Sadeq was not prosecuted for Azima’s fraud, and
the fact that Azima’s case involves hacking does nothing to show that Al
Sadeq’s case involves hacking. It does not. See generally Neuman Decl., Ex. 1,
Dkt. 16-1.

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     Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 8 of 18
That his name arose in the facts of Azima’s fraud scheme does not make mate-

rial related to that scheme relevant to the unrelated schemes for which he in

fact was prosecuted and which are in fact at issue in his case. Again, the ques-

tion of relevance is whether the material Al Sadeq seeks would make the facts

he has to prove in his case more or less likely, Fed. R. Evid. 401, and he iden-

tifies no facts in his case that the Azima discovery he seeks would help him to

prove. His core allegations are set forth in the Tsiattalou Declaration, and

nothing there has anything to do with Movants, CyberRoot, or Azima’s alleged

hacking. Dkt. 4 ¶ 5. Movant, CyberRoot, and the fact that Azima was suppos-

edly hacked are not alleged or mentioned anywhere in his operative Particu-

lars of Claim. See generally id. Ex. A.

      Al Sadeq’s ultimate position is that “Del Rosso has admitted that his

dealings with CyberRoot during this period were unrelated to Azima and,

therefore, a reasonable inference is that these inquiries were related to Al

Sadeq.” Opp. at 22.6 But that is plainly wrong. Movants’ denial that they did

anything improper with respect to Azima of course does not give rise to an

inference that that was because they were involved in committing a tort with



      6 As the motion noted, there is no evidence of these statements by Del
Rosso before the Court. Applicants cited to an English appellate court ruling
in the Azima litigation (Opp. at 14), but that is not evidence, and Movants are
not parties to or bound by that litigation.

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     Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 9 of 18
respect to someone else. Al Sadeq’s logic is wrong, and his request for discovery

should be denied.

                                      ***

       Applicants offer pages of factual recitation, a local phonebook of witness

names, and a pile of documentary material to suggest that the discovery they

want is warranted. But volume is not weight. The material sought here is not

relevant to Stokoe’s 2020 claims because what is sought is time-limited to

2015-2017; and it is not relevant to Al Sadeq’s claim that he was mistreated in

prison because what is sought is material of interest in Azima’s separate case

and has nothing to do with Al Sadeq. The subpoenas should be quashed or

narrowed as set forth in the motion.7

II.    The Application Required Decision by an Article III Judge.

       As Movants explained, a request is dispositive and “not a ‘pretrial mat-

ter’” if it “set[s] forth all of the relief requested.” ALCOA v. E.P.A., 663 F.2d

499, 501 (4th Cir. 1981); see also Springs v. Ally Fin. Inc., 657 F. App’x 148,




       The motion explained points to which Applicants do not respond and as
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to which Movants rest on their opening brief, including that third-party dis-
covery always imposes a burden; oral and document discovery as to communi-
cations with a non-party regardless of relevance to Applicants’ claims poses an
undue burden; and depositions are not permitted under English practice.

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      Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 10 of 18
152 (4th Cir. 2016) (post-judgment protective order was “dispositive”). Appli-

cants suggest that a Section 1782 application is “neither dispositive or final”

because a subpoena authorized by the application “may be called into question”

via a later motion to quash. Opp. at 23. That is imprecise, and wrong. A

Section 1782 application requests authority to serve subpoenas, while a motion

to quash targets the subpoena itself, not the authority to serve it, so it does not

target the relief requested in the application. The Section 1782 application

results in a final order granting the authority to serve subpoenas. Applicants’

own Fourth Circuit precedent confirms that a “[Section] 1782 order is a suffi-

ciently final order” to render it immediately appealable. In re Naranjo, 768

F.3d 332, 347 (4th Cir. 2014).

      But even if a motion to quash did “call into question” the relief requested

in the application itself, the Application still requests dispositive relief. Mo-

tions that are undisputedly dispositive—a motion to dismiss, for summary

judgment, or for judgment as a matter of law—may all be “called into question”

by a later motion. All are subject to a motion to reconsider. See, e.g., Sriniva-

san v. Snow, 211 F. App’x 186, 189 (4th Cir. 2006) (summary judgment order

was final despite “court’s indication that the parties could file a motion for re-

consideration”). Any trial-court decision in a case, including on dispositive mo-

tions, is non-final and subject to being revisited by the court at any time. See


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    Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 11 of 18
Plotkin v. Lehman, 1999 WL 259669, at *1 (4th Cir. Apr. 30, 1999) (“Interloc-

utory orders, including denials of motions to dismiss, remain open to trial court

reconsideration. . . .”); Krembel v. United States, 837 F. App’x 943, 950 (4th Cir.

2020) (same). And re-consideration of a motion for judgment as a matter of

law under Rule 50(a) is built into the Federal Rules: a party can (and to pre-

serve appellate issues, must) raise the same arguments again under Rule

50(b), but that required re-consideration does not render a Rule 50(a) motion

non-dispositive. See, e.g., James v. Wright, 2014 WL 2612487, at *3 (D.S.C.

June 9, 2014) (“motions for . . . judgment as a matter of law are dispositive”).

      The test of whether a motion is dispositive is therefore not, as Movants

implicitly contend, whether the relief requested can be “called into question”

by a later decision. It is instead exactly what ALCOA held: whether the re-

quest sets forth all the relief requested.8 A Section 1782 application does that.

The Application had to be decided by an Article III judge, and the order grant-

ing the Application is therefore void. The subpoenas should be quashed.




      8 The court in ALCOA noted in a footnote that the petitioner there sought
injunctive relief, but nothing in the decision turned on the kind of relief re-
quested. Contra Opp. at 24-25. Applicants emphasize In re Naranjo, 768 F.3d
at 332 (Opp. at 24), but ignore that the applicable standard of review was nei-
ther pressed nor passed upon in that case (see Dkt. 15 at 25 n.9). They also
ignore that unlike even in Naranjo, no Article III judge has, on any standard,
reviewed and affirmed the 1782 order in this case.

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    Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 12 of 18
III.    Applicants Improperly Joined Their Unrelated Applications.

        Parties may prosecute claims jointly only if they arise from the “same

transaction, occurrence, or series of transactions or occurrences.” Fed. R. Civ.

P. 20(a)(1)(A). Joinder is not appropriate when “the parties requesting joinder

have unique histories and the events at issue happened at different times un-

der different circumstances.” Scott v. Lumbee River Elec. Membership Corp.,

2006 WL 8438729, at *1 (E.D.N.C. Nov. 21, 2006).

        As the motion showed, Applicants’ claims arise from different alleged

events. Dkt. 15 at 4. Al Sadeq complains of alleged foreign judicial process

violations in 2014 to 2016. Stokoe alleges (speculative) claims arising from

someone allegedly obtaining a copy of certain of their bank statements. Opp.

at 4-5, 26-27.    “[E]ach are suing for distinct wrongs allegedly committed

against them by [] separate defendants,” Johnson v. City of Fayetteville, 2015

WL 3409058, at *2 (E.D.N.C. May 27, 2015), and the events occurred “at dif-

ferent times under different circumstances,” Scott, 2006 WL 8438729, at *1.

        Applicants fail to explain how their distinct claims arose from the same

transaction or occurrence. They cite no legal authority, and rely only on this

Court’s ex parte conclusion that the discovery sought could be relevant to both

proceedings. Opp. at 26 (quoting Dkt. 7 at 39). That has no relevance under

Rule 20(a). Whether both parties would benefit from the relief requested is not


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       Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 13 of 18
the rule; the question is whether the claims arose from the same transaction

or occurrence. Applicants do not try to link their claims in this way, and they

cannot, because the requests arise from different litigations, and those litiga-

tions arise from different, years-apart events. The Court should not have con-

sidered their applications together. 9

IV.    Evidentiary Objections

       As noted, the new Robinson material submitted is irrelevant because it

deals with 2020 events and fails to support Applicants’ position that the 2015-

2017 material sought is relevant to their proceedings. In any event, much of it

is improper and inadmissible, and should be excluded:

           • Robinson Declaration: Robinson recites out-of-court statements
             asserted for their truth. See Dkt. 18 ¶ 11 (statements by Patrick
             Grayson); id. ¶ 15 (reciting hearsay portions of Exhibit D); id. ¶ 21
             (Mr. Lowe’s statements).

           • Exhibit A: This foreign-sworn affidavit is hearsay not within any
             exception. It is not apostilled as required for foreign affidavits to
             be recognized under the Hague Convention Abolishing the Re-
             quirement of Legalisation for Foreign Public Documents, and does
             not otherwise subject the signatory to U.S. perjury penalties as re-
             quired under 28 U.S.C. § 1746.



       9Even claims that are more closely linked than these cannot be prose-
cuted together. See Hogan v. Cherokee Cnty., 2019 WL 11769118, at *4
(W.D.N.C. Nov. 14, 2019) (denying joinder of proposed plaintiffs because their
claims were distinct from each other); Wilson v. Nash Edgecombe Econ. Dev.,
Inc., 2020 WL 5594538, at *23 (E.D.N.C. Sept. 18, 2020) (“pattern and practice”
cannot ground joinder).

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      Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 14 of 18
        • Exhibit B: This witness statement is hearsay not within any ex-
          ception. It is unsworn and so is not an affidavit admissible to sup-
          port a motion under Rule 43(e) and does not comply with 28 U.S.C.
          § 1746, which requires that a declaration executed abroad be
          sworn under penalty of perjury under U.S. laws.

        • Exhibit D: As set forth in ¶ 14, the purported invoices dated No-
          vember 1, 2019 and February 26, March 16, April 2, April 9 and
          June 7, 2020 are admitted fabrications. Robinson admits deleting
          invoices, claims to have made notes of their contents, and claims
          to have reproduced them (and destroyed the notes). These docu-
          ments are hearsay admitted for their truth, but are not Fed. R.
          Evid. 803(6) business records because they were not “made at or
          near the time,” were not “kept in the course of a regularly con-
          ducted activity,” and making them was not “a regular practice of
          that activity.”

                              CONCLUSION

     For these reasons and those stated in the opening brief, the Court should

quash or narrow the subpoenas.




                                     13


    Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 15 of 18
 Respectfully submitted this 23rd day of December, 2021.

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                               14


Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 16 of 18
                     WORD COUNT CERTIFICATION

       Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.
P. 11, that the accompanying brief contains 3,025 words, according to the word
count feature of the word processing system used to prepare the brief. Accord-
ingly, the brief does not exceed the 3,125 word limitation.

Respectfully submitted this 23rd day of December, 2021.

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                                       15


    Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 17 of 18
                       CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of December 2021, I electronically
filed the foregoing Nicholas Del Rosso and Vital Management Services,
Inc.’s Reply in Support of Motion to Quash or For a Protective Order
with the Clerk of the Court using the CM/ECF system, which will send elec-
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                                      16


    Case 1:21-mc-00006-WO-LPA Document 19 Filed 12/23/21 Page 18 of 18
